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               1                                                                          The Hon. James P. Donohue
                                                                                              Chief Magistrate Judge
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               8                               UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF WASHINGTON
               9                                        AT SEATTLE
           10

           11
                                                                     CASE NO. 2:17-CV-00218-RSM-JPD
           12
                   Daniel Ramirez Medina,
           13                                                        DECLARATION OF JESSE S.
                                          Petitioner,                GABRIEL IN SUPPORT OF
           14                                                        PETITIONER’S RESPONSE BRIEF RE:
                                  v.                                 COURT’S FEBRUARY 14, 2017, ORDER
           15      U.S. DEPARTMENT OF HOMELAND                       DIRECTING SERVICE, SETTING
                   SECURITY; JOHN KELLY, Secretary of                STATUS CONFERENCE, AND
           16      Homeland Security; NATHALIE ASHER,                SETTING BRIEFING SCHEDULE
                   Director of the Seattle Field Office of U.S.
           17      Immigration and Customs Enforcement,
           18                             Respondents.
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Gibson, Dunn &     Declaration of J. Gabriel
Crutcher LLP       Case No. 2:17-cv-00218-RSM-JPD                                          Counsel listed on next page
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               1   I, Jesse S. Gabriel, declare as follows:
               2      1. I am an attorney admitted to practice law pro hac vice before this Court. I am an associate at
               3          the law firm of Gibson, Dunn & Crutcher, and I am one of the attorneys responsible for the
               4          representation of Daniel Ramirez Medina (“Mr. Ramirez”) in the above-captioned action. I
               5          submit this declaration in support of Mr. Ramirez’s Response to the Respondent’s Brief re:
               6          Court’s February 14, 2017, Order Directing Service, Setting Status Conference, and Setting
               7          Briefing Schedule. The following facts are within my personal knowledge and, if called and
               8          sworn as a witness, I would testify competently to these facts.
               9      2. Attached hereto as Exhibit A is a true and correct copy of a tweet from KOMO News entitled
           10             “ICE Statement: Arrest of Daniel Ramirez-Medina,” accessed on February 16, 2017 at
           11             https://twitter.com/komonews/status/831705954584453121/photo/1.
           12         3. Attached hereto as Exhibit B is a true and correct copy of an article from Reuters entitled
           13             “Mexican ‘DREAMer’ nabbed in immigrant crackdown,” accessed on February 16, 2017
           14             from Westlaw.
           15         4. Attached hereto as Exhibit C is a true and correct copy of the transcript from “The First 100
           16             Days,” which aired on February 15, 2017. This was accessed on February 16, 2017 at
           17             http://www.foxnews.com/transcript/2017/02/15/chaffetz-want-inspector-general-to-
           18             investigate-leaks-attorney-for-arrested/.
           19         5. Attached hereto as Exhibit D is a true and correct copy of the CBS News article entitled
           20             “‘DREAMer’ protected under Obama detained in Seattle area, accessed on February 16, 2017
           21             at http://www.cbsnews.com/news/daniel-ramirez-medina-dreamer-protected-under-obama-
           22             detained-in-seattle/.
           23         6. Attached hereto as Exhibit E is a true and correct copy of “DHS Statement on Arrest of Alien
           24             Gang Member in Washington,” accessed on February 16, 2017 at
           25             https://www.dhs.gov/news/2017/02/15/dhs-statement-arrest-admitted-alien-gang-member-
           26             washington.
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               1          I declare under penalty of perjury under the laws of the United States and the State of
               2   Washington that the foregoing is true and correct, and that I executed this Declaration on February
               3   16, 2017 in Los Angeles, California.
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               5                                                                /s/          Jesse S. Gabriel
                                                                                        Jesse S. Gabriel
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                                      2/14/17 Reuters U.S. Top News 22:38:54

                                               Reuters US Top News
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                                                   February 14, 2017

                                Mexican 'DREAMer' nabbed in immigrant crackdown

                                                      Sue Horton

                                                    Kristina Cooke

                                                   Bill Rigby; Seattle

                                                      Dan Levine

                                                     Will Dunham

US-USA-TRUMP-IMMIGRATION-ARREST-EXCLUSIVE:Mexican 'DREAMer' nabbed in immigrant crackdown

2017-02-15 15:21:32 GMT+00:00

SAN FRANCISCO (Reuters) - U.S. immigration authorities have detained a 23-year-old Mexican man who was brought
to the United States illegally as a child and given a work permit during the Obama administration, according to a lawsuit
challenging the detention in Seattle federal court.

The man's lawyers say this could be the first time under U.S. President Donald Trump that a person covered by
the Deferred Action for Childhood Arrivals, or DACA, has been taken into immigration custody. The program was
established in 2012 by Democratic President Barack Obama to allow those brought to the country while young to attend
school and work.

Ethan Dettmer, a partner in the law firm Gibson Dunn & Crutcher and one of the lawyers representing the man, Daniel
Ramirez Medina, said he is not aware of any other DACA recipient who has been arrested.

"We are hoping this detention was a mistake," he added.

Ramirez was a "self-admitted gang member," said Rose Richeson, a spokeswoman for U.S. Immigration and Customs
Enforcement (ICE), in a statement.

"ICE officers took Mr Ramirez into custody based on his admitted gang affiliation and risk to public safety."

Richeson declined to elaborate further on how ICE established the man was a member of a gang.

Dettmer said Ramirez "unequivocally denies" being in a gang.



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"While in custody, he was repeatedly pressured by U.S. Immigration and Customs Enforcement agents to falsely admit
affiliation," said Dettmer. "The statement issued tonight by U.S. Immigration and Customs Enforcement is not accurate."

Ramirez, who has no criminal record according to court papers filed in his case, was taken into custody last week at his
father's home in Seattle by ICE officers.

The White House did not immediately respond to a request for comment.

In an interview with ABC News last month, Trump said his administration was devising a policy on how to deal with
people covered by DACA, without indicating any concrete plans.

"They are here illegally. They shouldn't be very worried. I do have a big heart. We're going to take care of everybody.
We're going to have a very strong border," Trump said at the time.

According to the lawsuit, which was filed by Harvard Law School Professor Laurence Tribe and other prominent
attorneys, officers went to the home to arrest the man's father. Court documents do not make clear why the father was
taken into custody.

Ramirez, now detained in Tacoma, Washington, was granted temporary permission to live and work in the United States
under DACA in about 2014, according to the lawsuit, and his status was renewed in 2016. Reuters viewed a document
attached to the lawsuit that appeared to confirm his DACA approval.

The program protects from deportation 750,000 people who were brought to the United States illegally as children,
sometimes called "dreamers."

Trump, a Republican who took office on Jan. 20, has promised a crackdown on the estimated 11 million illegal
immigrants in the United States, most of whom come from Mexico and other Latin American countries.

Although the reasons for Ramirez's arrest are in dispute, a move against DACA recipients would represent a significant
broadening of immigration enforcement under Trump.

Reuters could not independently confirm whether other DACA recipients have been detained since Trump took office.

Ramirez filed a challenge to his detention in Seattle federal court on Monday, arguing that the government violated his
constitutional rights because he had work authorization under the DACA program, his lawsuit said.

Ramirez was in custody and unavailable for comment.

A BROKEN PROMISE?

Another of Ramirez's lawyers, Mark Rosenbaum of the legal advocacy group Public Counsel, characterized the DACA
program as a promise from the federal government's executive branch that DACA recipients would not be targeted for
deportation and said he hoped that promise would not be broken.

Emily Langley, a spokeswoman for the U.S. attorney's office in Seattle, said the Justice Department is still reviewing
the case.




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Under 2014 guidance from the Obama administration, someone would be a deportation priority for gang activity only
if they had been convicted of an offence in connection with the gang, not for gang affiliation alone, although there was
room for discretion on the part of immigration officials. Reuters could not determine whether gang members who had
not committed crimes were deported during Obama's tenure.

U.S. immigration officers last week arrested more than 680 people in the country illegally. Department of Homeland
Security Secretary John Kelly said the operations, conducted in at least a dozen states, were routine and consistent with
regular operations.

But immigrant advocacy groups and Democrats have expressed concern that the Trump administration will escalate
immigration enforcement efforts in line with the president's tough stance toward illegal immigrants.

Ramirez in his lawsuit is seeking immediate release and an injunction forbidding the government from arresting him
again. A hearing in the case has been scheduled for Friday.

According to the lawsuit, Ramirez was asleep at his father's home last Friday morning when ICE agents arrived and
arrested the father. When they entered, they asked Ramirez if he was in the country legally, and Ramirez said he had
a work permit, the lawsuit stated.

ICE agents took Ramirez to a processing center in Seattle and he again disclosed his DACA work permit, the lawsuit
stated.

Ramirez was fingerprinted, booked and taken to a detention center in Tacoma where he remained on Tuesday, said
Rosenbaum.


---- Index References ----

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News Subject: (Crime (1CR87); Criminal Law (1CR79); Emerging Market Countries (1EM65); Government Litigation
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Meanwhile, a headline in The New York Times says the blame is on team Trump and their alleged repeated contacts with
Russian intelligence.

So while all this was playing out today, Navy Vice Admiral Robert Harward is now the man who is expected to be the new
national security advisor. He could report for duty, we are told, as early as Friday of this.

Congressman Jason Chaffetz is here exclusively tonight to announce a new investigation in the wake of this General Flynn
story. We will get to that in just a moment.

But, first, we turn to chief intelligence correspondent Catherine Herridge.

Good evening, Catherine.

CATHERINE HERRIDGE, FOX NEWS CHIEF INTELLIGENCE CORRESPONDENT: Well, thank you, Martha. In the last
10 minutes, the Republican chairman of the Senate Judiciary Committee Chuck Grassley and ranking Democrat Senator
Dianne Feinstein sending this letter to the attorney general and FBI director, seeking the content of the former national
security advisor Mike Flynn's communication with Russian officials.

The Justice Department response an information about potential leaks of classified information as the president today
blamed politics and the media for his national security advisor's exit.

(BEGIN VIDEO CLIP)

TRUMP: People are trying to cover up for a terrible loss that the Democrats had under Hillary Clinton. I think it's very, very
unfair what has happened to General Flynn, the way he was treated and the documents and papers that were illegally ­­ I
stress that ­­ illegally leaked.

(END VIDEO CLIP)

HERRIDGE: Also late today, the White House naming that former Navy SEAL and deputy commander for the Middle East
John Harward as Flynn's replacement. The Trump administration clearly hoping the announcement will blunt further
questions.

Meantime, a handful of names are circulating here in Washington tonight based on access to the highly restricted
intelligence and leaker's motivation. Fox News is contacting former intelligence, an Obama administration official
separately and directly.

Meantime, the Washington Free Beacon reports that former White House aide Ben Rhodes at the center of the Iran deal
and the scandal over the 2012 Benghazi terrorist attack is the main driver of the leaks. There was no immediate comment
from Rhodes tonight.

Writing on Twitter earlier this week, Rhodes said, "When campaign chairman and national security advisor both resigned
over Russia ties, there is more. Paul Manafort and Flynn had nothing in common, except Russia and Trump."

A government source confirmed to Fox News that the FBI investigation does go beyond Flynn. And also includes contacts
between the Trump campaign team and Russian officials leading up to the election. We are told at this point the FBI does
not see evidence that any laws were broken, Martha.

MACCALLUM: That is one of the highlights there. Catherine, thank you very much.

HERRIDGE: You're welcome.


http://www.foxnews.com/transcript/2017/02/15/chaffetz­want­inspector­general­to­investigate­leaks­attorney­for­arrested/print                2/19
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MACCALLUM: So my next guest has big news to share concerning former national security adviser General Michael
Flynn, Utah Congressman Jason Chaffetz. He is chairman of the House Oversight Committee.

Congressman, good to have you here this evening.

JASON CHAFFETZ (R­UTAH), HOUSE OVERSIGHT & GOVERNMENT REFORM COMMITTEE: Thanks a lot.

MACCALLUM: A lot buzzing this evening about investigations. What can you tell us?

CHAFFETZ: Well, what we are going to do is send a letter tonight to the inspector general. Mishandling of classified
information is something we have been keenly concerned about in a variety of settings. But not only the president
communications, the national security advisor, again, it happened before, potentially happened before the president was
actually sworn in. But you can't mishandle classified information. And so we want the inspector general to dive into that
issue, as he can do with the Department of Justice and look under the hood and find the truth behind this.

MACCALLUM: All right. So what are you digging in for? You are trying to figure out whether or not General Flynn was
translating any confidential information to the Russians prior to the election?

CHAFFETZ: Well, we asked the inspector general to also look at how does that information end up at the news media.
 You know, if you have classified information, sensitive information like that, there are policies and procedures for handling
that.

The president has made some very serious allegations and concern in his description of the movement of this information.
 We want the inspector general, Michael Horowitz, who's widely regarded on both sides of the aisle, as a person of great
integrity to get in there and go find this out.

Because no matter where you are in the political spectrum, you cannot have classified information migrating out into a non­
classified setting. And so if there has been something that has been mishandled, we want them to look at it.

MACCALLUM: So just to be clear, you are looking at it on both sides of the equation, because a lot of people, you know,
they see you and they equate you with the Hillary Clinton investigation.

You were very concerned that classified information may have passed from her hands, even dealings with Russia, we
talked about at that time. So you would apply that same measure to General Flynn as well?

CHAFFETZ: Well, yes. And we also sent a separate letter concerned ­­ to the White House, concerned about what, you
know, the visuals that we saw the president in Mar­a­Lago, again, was classified information, mishandled there.

I think the standard is still the same. You have a duty and an obligation, because by its very nature, if the classified
information gets out there, it can harm somebody. It can kill somebody. This is serious stuff.

And there are some questions and concerns about how in Florida did they have the proper security protocols set up in
place to deal with that classified information.

Same with Hillary Clinton, same with Donald Trump and same with, you know, those in the intelligence world or at the
Department of Justice who get to see this information. They just can't handed out like candy and favors to those in the
news media. They can't do that.

MACCALLUM: What about President Trump's assertion that he thinks that it's a criminal act in terms of the way that this
information, and potentially someone like Ben Rhodes who we just mentioned in that story, he is somebody that you would



http://www.foxnews.com/transcript/2017/02/15/chaffetz­want­inspector­general­to­investigate­leaks­attorney­for­arrested/print                3/19
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like to talk to? Do you expect to have hearings on this and bring in people ­­ former people from the Obama
administration?

CHAFFETZ: Well, I think the fair way to do it, to make sure that you get to the truth in any impartial way is to make sure
that the inspector general is leading out on it. They have tools. They have access. It does­­ to give you an idea, all of
federal government, there are 72 inspector's general. But they have 13,000 employees. The Department of Justice alone,
they have roughly 500 people working at the Department Justice as the inspector general to get in there and go find the
truth.

MACCALLUM: All right. So you want them to go first, and then I would assume you will likely follow up later.

CHAFFETZ: Yes, we're going to follow up ­­ yes.

MACCALLUM: Chairman Chaffetz, thank you very much. Good to have you here tonight.

CHAFFETZ: Thanks, Martha. Thank you.

MACCALLUM: So joining us now with more, Marc Thiessen, resident fellow at the American Enterprise Institute and Fox
News contributor. Austan Goolsbee, former chief economist under President Obama. And Mara Liasson, NPR political
correspondent and Fox News contributor.

Welcome to all of you. Good to have you here tonight.

(CROSSTALK)

Mara, let me start with you. What's your reaction to the inspector general call from Chairman Chaffetz?

MARA LIASSON, NPR NATIONAL POLITICAL CORRESPONDENT: Well, I think it's, you know, it is interesting. Congress
is now going to investigate this. I just want to say, this is the first time on this show for me, I'm glad to be here with two
people I really respect a lot ­­ Austan and Marc.

MACCALLUM: I don't know which.

(LAUGHTER)

(CROSSTALK)

LIASSON: Congress ­­ Congress is looking into this. And to some extent, Republicans are investigating this even though
they didn't really want to be investigating their own president.

Chaffetz is looking into one aspect of it. There are a lot of investigations now that are happening on Capitol Hill. I think it's
a good thing. I think there are so many questions about this whole story that don't make sense.

NPR has found out that so far, nobody has uncovered evidence of criminal wrongdoing, so, the question is why would
Flynn lie to Mike Pence or mislead him about what he said? It doesn't really make a lot of sense. So as far as I'm
concerned, more light that can be shed on this the better.

MACCALLUM: So Marc Thiessen, you know, obviously, the same measure that was applied to Hillary Clinton needs to be
applied to this case, no?

MARC THIESSEN, FOX NEWS CONTRIBUTOR: Oh, absolutely. But, I mean, let's pull back and look at the bigger
picture here besides just the Flynn story. I mean, in the last 25 days, think about the leaks that we've had coming out of

http://www.foxnews.com/transcript/2017/02/15/chaffetz­want­inspector­general­to­investigate­leaks­attorney­for­arrested/print                4/19
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the White House and the executive branch in the last 25 days.

We've had classified transcripts of three conversations with three different world leaders ­­ the prime minister of Australia,
president of Mexico, president of Russia, all leaked.

We've had more than a half­dozen draft executive orders, including some of them dealing with highly classified things like
terrorist interrogations leaked to the press. We've learned that General Mattis was considering interdicting an Iranian ship.
 And now we learned today that they are considering sending troops to Syria. All classified information leaked to the press.

We've had the fact that one of General Flynn's deputies was denied of security clearance. Classified information leaked to
the press. So you've got ­­ in addition to the Flynn information, you've got ­­

MACCALLUM: Absolutely.

THIESSEN: It's a sea of leaks, of classified information going to the press. And when people say we are worried about
Donald Trump creating an authoritarian state, I'm worried about the authoritarian implication of a national, members of the
national security apparatus going after people they don't like, whose policies they post by leaking classified information to
the press. That puts them on the path of totalitarianism.

MACCALLUM: Yes. That's a suggestion, Austan that they are saying ­­ you know, some sort of shadowy entity out there
that is trying to reveal these things, phone calls between the president and foreign leaders. If any member of the former
Obama administration is involved in such a thing, do you want those feet held to the fire?

AUSTAN GOOLSBEE, ECONOMIC ADVISOR TO HILLARY CLINTON: OK, let's take a step back and just recognize the
irony and absurdity of a lot of these charges.

First, the irony. For Donald Trump to be saying that his biggest objection is over the illegal leaks, when throughout the
campaign, he is the guy that asked Russia to hack into emails and release them for Hillary Clinton and wanted to do
nothing more than to discuss what was in all of the WikiLeaks documents. That's quite ironic.

THIESSEN: Which was not classified.

GOOLSBEE: Second, the fact that you are seeing leaks in every aspect of the White House, from national security to
economic policy to personnel, suggests very strongly it's not one person who is doing the leaking. There is chaos taking
place.

MACCALLUM: Which is precisely there's this call for inspector general to look at both sides of the equation. We need to
know what information that's going back and forth from any, one of the Trump camp to Russia or anyone in the former
Obama camp to the public. Both sides.

(CROSSTALK)

GOOLSBEE: And I applaud Congressman Chaffetz for investigating why they are having classified briefings in the dining
hall at Mar­A­Lago.

MACCALLUM: If that happened.

GOOLSBEE: With people taking photographs on their phones of it. So they should investigate all of those. But Donald
Trump has a more serious issue, which is when the smoke alarms are going off and there is smoke coming out of the
doors, he has not been in Washington crises before.



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He is taking a private­sector approach to crisis management, which is, circle the wagons, release nothing, don't give them
any information. And the problem with that is if you don't release everything you have right now­­ tax returns, who talked to
who in the campaign with Russian intelligence officials, giving explanations, if you don't do that, it's just going to be drip,
drip, just like Hillary's emails.

(CROSSTALK)

MACCALLUM: Right. And these stories are not ­­ they are never, ever going to stop unless there is some kind of clarity
on both sides of this.

Mara, thank you so much. Austan, thank you. Marc Thiessen, great to see you all. See you soon.

So, coming up, the media coming to extreme lengths to compare General Flynn's ouster with some of this country's
darkest moments in history. Is that fair? We're going to show you some of the reactions when Ben Shapiro and Richard
Fowler join us in our media conflict segment.

Plus this, new details tonight about what lead immigration officials to arrest this man, a so­called dreamer who was allowed
to stay in the United States under President Obama's DACA program. Exclusive new details on his more complete story,
straight ahead.

And President Trump and Israeli Prime Minister Benjamin Netanyahu signaled a renewed relationship between the two
countries after eight years of tense situations at the White House. We'll compare and contrast and show you some
interesting moments from their news conference when we come back.

(BEGIN VIDEO CLIP)

TRUMP: Your perseverance in the face of hostility, your open democracy in the face of violence, and your success in the
face of tall odds is truly inspirational.

(END VIDEO CLIP)

(COMMERCIAL BREAK)

MACCALLUM: New controversy tonight surrounding some of the dramatic media declarations in the wake of the General
Flynn ouster.

A column in The New York Times put it on par with some of the most devastating attacks in our nation. Reading in part,
quote, "We were attacked on December 7th, 1941. We were attacked on September 11th, 2001. And we were attacked on
November 8th, 2016."

Dan Rather added this. "Watergate is the biggest political scandal of my lifetime until maybe now."

And finally this from Chuck Todd.

(BEGIN VIDEO CLIP)

CHUCK TODD, MEET THE PRESS: One of what is arguably the biggest presidential scandal involving a foreign
government since Iran­Contra. Take a breath, hyperbole aside, folks, hunker down 'cause this is a class five political
hurricane that's hitting Washington.

(END VIDEO CLIP)


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MACCALLUM: A class five political hurricane.

Ben Shapiro, editor­in­chief of TheDailyWire.Com and Richard Fowler, nationally syndicated radio host and Fox News
contributor.

Gentlemen, I hope you are hunkered down because this is big, big, big.

Ben, what do you make of all of that?

BEN SHAPIRO, EDITOR IN CHIEF, THEDAILYWIRE.COM: I mean, everybody sounds like a used car salesman trying to
hawk an Old Chevy. Wow. The level of outrage over something that we don't know what happened yet.

I mean, I'm still confused as to what Flynn did that was supposed to be the worst thing that ever happened since the
Biblical plagues. And between Thomas Friedman, who apparently has the brain power of an overused hair dryers and Dan
Rather the godfather of modern media fake news, talking about how this is the greatest crises that we have ever seen in
modern political history. Again, what happened?

It's very simple. Should we know what happened before we start to freak out and lose our minds?

MACCALLUM: Yes. I mean, it's an excellent question, Richard. When you dig into The New York Times piece today,
which, you know, started off declaring that there had been so much contact between the Trump campaign and Russia that
it was just, you know, sort of ­­ it's dramatic in the nature of it that they just had to dig and dig. And then they said but we
dug and dug and so far we haven't found anything at all in terms of a nefarious connection. They may, but we don't know
that yet.

RICHARD FOWLER, FOX NEWS CONTRIBUTOR: I mean, Martha, you are right. We don't know. We don't know that
there is a crisis. I think the media is being a little rough on the Trumpster. But here's why. I think the reason why the
media is being so rough on the Trumpster, it's everything to do with the fact that they've circled the wagon, that they
haven't released any information.

A little bit of advice for the Donald, if he is watching tonight, right, the first thing you do is you release these transcripts to
the intelligence committee. They will get it classified. Get it over with so you could move on.

He's going to be political capital ­­

MACCALLUM: I remember when that argument was used for Hillary Clinton.

FOWLER: Yes. And it's the right argument.

MACCALLUM: She never did that.

FOWLER: Just get it all out there, right? Because remember, he's going to need political capital to roll out infrastructure
package, you need political capital to roll out his tax reforms. And right now, 90 percent of Republicans like him. But if this
drip, drip, drip continues, Martha, it could create doom for the Trump administration just 30 days in ­­ 27 days in.

MACCALLUM: Put up these headlines that we have, because this story really broke a month ago. It was out there. You
know, intercepted Russian communication, part of inquiry into Trump associates. And that story back then, a Washington
Post story back then as well said that they didn't find anything nefarious. They didn't find any connection between these
communications and the election.

They just found that there was phone call and there was contact that they were concerned about. You know, Sally Yates
brought that to the attention of the White House, as well.
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And then I want to remind everyone of this moment with President Obama a while back. Watch this.

(BEGIN VIDEO CLIP)

BARACK OBAMA, FORMER PRESIDENT OF THE UNITED STATES: This is my last election. And after my election, I
have more flexibility. Yes?

UNIDENTIFIED MALE: I will transfer this information to Vladimir.

(END VIDEO CLIP)

MACCALLUM: I understand. So after the election, we might be able to talk about that issue that is bothering you. Is that
essentially what we think General Flynn may have said then?

SHAPIRO: I think that's basically the idea. The only difference being that President Obama was in the middle of an
election cycle and Flynn apparently said a lot of these things after the election cycle was over. It was like three weeks
before he was appointed NSA.

Richard, you are giving a lot of advice to Donald Trump, and I agree with a lot of the advice that you are suggesting for the
Trump administration. But some advice for the media. Guys, if you want people to take you seriously, you have to stop
setting your hair on fire and running into plate glass windows before you even know what the hell is going on.

I mean, you are jumping on every rake in a 300­mile radius before you even let all the facts out. We can't take you
seriously unless you lay out a series of facts that we can believe instead of blowing up headline ­­ the headline of The New
York Times piece could easily have been "Investigation shows no causal links between Trump campaign and Russians."

(CROSSTALK)

MACCALLUM: And the truth is this investigation is ­­ it's an investigation that is ongoing. You know, when you step on a
rake, it can hit you in the head.

SHAPIRO: Yes.

MACCALLUM: So once you've laid down these markers, that this is Watergate, this is Pearl Harbor, this 9/11, you better
be careful what you put out there.

FOWLER: I think it has everything to do with, Martha, the fact that Donald Trump has sort of take ­­ he made the media
enemy, right. You go out there in your press conference and say, well, yes, Mike Flynn didn't resign, which really did
happened. (INAUDIBLE), what really happened and say I blame this all on fake news.

What you begin to do is you put ­­ the media's best reaction is implicit. Here's all the news, here's all the facts as they are
being leaked out. And I think Donald should be more concerned about leakers in the White House and throughout the
government than he can be concern about the media and quote, unquote "fake news."

MACCALLUM: All right. Good points all around. Thank you very much, gentleman. Good to see you tonight.

FOWLER: Good to see you, Martha.

MACCALLUM: So, also tonight, there is new fallout from the breaking news that President Trump's labor pick has bowed
out.



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Plus, a big story out of Seattle, where a so­called dreamer is under arrest. It is getting a ton of attention across the country
that a dreamer has been taking down on this immigration situation. His lawyers say he is innocent. But we want you to
know the facts that we are learning now in this case.

David Wohl and Francisco Hernandez up next on this.

(BEGIN VIDEO CLIP)

UNIDENTIFIED MALE: Contrary to what this Trump administration is saying, lots of folks who don't have records are
being picked up. And we are saying that it's tearing families apart.

(END VIDEO CLIP)

(COMMERCIAL BREAK)

MACCALLUM: Tonight, first, under the new immigration policy of President Trump, the arrest of a so­called dreamer.
 Daniel Ramirez was apprehended Friday by Immigration and Customs Enforcement agents. Despite being approved
twice under President Obama's DACA program, ICE officials claimed that he is a self­admitted gang member, representing
a risk to the safety of the public. His attorneys argue Ramirez is being detained without justification, presenting no threat
to the larger public. One of those attorneys, Ethan Dettmer, is here to go on the record on this for us tonight and tell his
side of the story before attorneys David Wohl and Francisco Hernandez debate.

First, let's go to Trace Gallagher, West Coast newsroom, and get the background on all of this.

Trace?

TRACE GALLAGHER, FOX NEWS CORRESPONDENT: Hi, Martha.

23­year­old Daniel Ramirez was detained when immigration agents showed up to arrest his father for a deportation
violation. Immigration and Customs Enforcement or ICE says Ramirez was arrested because he's an admitted gang
member and when we press them on how they knew, he was in a gang, they said, quoting here, "There was additional
evidence including photos and social media content that illustrate his gang affiliation beyond his self­admission of
belonging to one."

Ramirez's lawyers tell a different story, saying, quote, "He was repeatedly pressured by Immigration and Customs
Enforcement to falsely admit gang affiliation."

Under the Obama administration, guidance for DACA, or Deferred Action for Childhood Arrivals, being in a gang did not
qualify for deportation. You had to commit a felony in connection with a gang. Although, even under President Obama, ICE
agents were allowed to use discretion.

The White House has yet to comment on this case. But last month, President Trump told "ABC News" that his
administration was devising a policy on how to deal with people covered by DACA.

The president went on to say they shouldn't worry because he has a big heart. DACA protects about 750,000 so called
dreamers from deportation. The lawsuit on behalf of Daniel Ramirez was filed by Harvard law professor Laurence Tribe
and other prominent attorney who claimed the 23­year­old's constitutional rights had been violated and that his arrests
represents a significant broadening of immigration enforcement under the Trump administration.

The Department of Justice is reviewing the matter. A hearing is scheduled for this Friday.

Martha?
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MACCALLUM: Thank you, Trace.

So here on a "Fox News" exclusive, Ethan Dettmer, attorney for the dreamer in ICE custody Daniel Ramirez.

Good to have you here tonight Mr. Dettmer. Thank you for being here.

ETHAN DETTMER, ATTORNEY FOR DANIEL RAMIREZ: Thank you. Thank you very much for having me. I appreciate
it.

MACCALLUM: So your understanding, according to ­­ you just saw the statement that came in from ICE. And they say
that he admitted being a gang member, while in custody. And then also when they looked into his social media and his
computer, it was clear that he had a connection in a number of ways to a criminal gang.

DETTMER: Well, I will say a couple of things about Daniel. First, as I think you know and as the introduction said, in order
to get DACA status, you have to give a lot of information, a lot of personal information to the government. You have to give
your fingerprints to the government. And DHS runs a background check. And Daniel Ramirez went through that twice.

And both times, the government found, DHS found after all that work that he was not a threat to the public safety. That he
was not a threat to national security. In the most recent such review, it was just less than a year ago and nothing has
changed since then.

So they've looked at this twice already. The second thing I will say is we talked to the government just yesterday and ask
them what evidence they had of his gang membership. And the government told us, they didn't know what information
they had so all of this seems to be coming out now. We do look forward to seeing what they tell us tomorrow morning. We
are supposed to get an explanation from them as why they are keeping him. We will respond to it as soon as we see what
they have to say.

MARTHA MACCALLUM, THE FIRST 100 DAYS HOST: Some statement with some background from federal officials in
the department saying that he had admitted. As you point out, I mean, you know it needs to be determined what the actual
case is. It is interesting, when they went into the house, they took the father, who they were originally therefore, who was a
felon who was been deported and returned, which is clearly under the category of this executive order. Now the executive
order says they say they want to remove repeat criminals, people who have come back into the country, deported and
come back in, and also members of gangs. That is the group that is included in this order. They didn't take his brother. It
is possible that they didn't take his brother, because they didn't find the same information or he didn't admit to being in a
gang, perhaps, your client did.

DETTMER: Well, I will tell you this. First of all, from all the reports we have had, none of those questions were asked of
the time of the arrest. What we understand happened at the time of the arrest, was Daniel and his brother were at this
apartment, they just happen to be there, and there was no warrant for either of them. Daniel said that he had a work
authorization card, which is the card you get for having DACA status.

We can't explain. We don't know why it is that the ICE agents took Daniel and not his brother, because really, they were in
the same circumstance. They are both Mexican­American young man, they both had DACA status. Neither one of them
was the subject of this arrest warrant. And that kind of arbitrary treatment is exactly what the DACA promise was meant to
avoid. I will say one more thing about this supposed admission to gang membership. Daniel Ramirez denies that
completely and in fact, what he has been very clear about was after he was taken to the processing station, the ICE agents
pressured him to admit to that. But he wouldn't do it because it is not true.

MACCALLUM: Ok. Mr. Dettmer, thank you very much for being here tonight and telling your clients side of the story to us.
We hope this situation is resolved quickly in either way. So joining me right now, with their take on this David Wohl,


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attorney and Trump Supporter and Francisco Hernandez an immigration attorney, welcome, good to have both of you
here.

DAVID WOHL, TRUMP SUPPORTER: Hi Martha.

FRANCISCO HERNANDEZ, IMMIGRATION ATTORNEY: Thank you for having me.

MACCALLUM: David Wohl, you are a Trump supporter. I understand the motivations of the administration. If this person
is not a member of this gang and they are wrong, I would imagine he'd be released quickly.

WOHL: Yes and they have got to have more than a simple admission, Martha. I have worked these cases for more than a
quarter­century. Generally, the large law enforcement's agencies, like ICE they have large gang databases, they have
experts that work in this, they have large databases that contain whether this gang member has attacked, whether he has
gang affiliations, whether he is a juvenile convictions or adult conviction. This man doesn't have any at all convictions but
may have juvenile convictions. We aren't sure. One of the major ways they catch them is the social media, especially
MySpace. I remember gangs were so often nailed by posting things on MySpace, communicating with other gang
members. They may not have known this when they first arrested them. They were it may have researched it after the
fact. They got to have something more than a simple admission, because sometimes, these kids do this by way of
braggadocio. Or just trying to associates themselves or be cool. My guess is they have a lot more. If they do, he is not
going to be saved by DACA. He will be deported.

MACCALLUM: Yes, I mean there are two elements to this story in my mind. There is the individual, who everyone wants
to be treated fairly. I know we all agree on that. Then, the larger picture, where there is almost, I think, and anticipation,
maybe hope was too strong a word, that people will be brought in who don't deserve to be brought in. And that will reflect
poorly and fulfill the wishes of people who are very much against the president. Mr. Hernandez, what do you think?

HERNANDEZ: No. It has nothing to do with it. It has everything to do with the constitution. It is called the due process
clause of the constitution. What is amazing is that the extreme rights argue for the last four or five years that President
Obama did not have the legal authority to execute that executive order. If he did not have the authority to execute the
executive order, then, DACA is invalid. In order to give this young man, whether he is guilty or not, due process, it means
the executive order was valid. That is the constitution.

MACCALLUM: No one is talking about having ­­ him and not having due process.

WOHL: That is due process. He is getting a court hearing in front of a federal judge to determine whether or not he is a
documented gang member. If he is not, then, the judge will probably release him. I see no reason why not. But if he is
determined to be a documented gang member, then, the fact that he is a dreamer will not save him. The judge will find the
public safety priority and he will be gone.

HERNANDEZ: But the facts don't matter. Just the fact that he is getting to process it shows you that President Obama
has the executive constitutional authority to execute the action for late arrivals.

MACCALLUM: That whole thing was about prosecutorial destruction given to a huge number of people at once. That is a
completely different situation. The question of whether or not this person, who has been brought in, we'll get due process,
which he appears to be getting at this point, if we find out that is not the case, we will make absolutely sure that we follow
up on that, but in terms of that ­­

HERNANDEZ: President Obama had the authority.

WOHL: Donald Trump does not want innocent people being deported to fit under the DACA. He has made that clear.


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HERNANDEZ: I have to agree with that.

MACCALLUM: All right. We will leave it there. Thank you very much, Mr. Wohl, Mr. Hernandez.

WOHL: Thank you Martha.

HERNANDEZ: Thank you Mr. Wohl.

MACCALLUM: Also tonight, the Trump administration delivers in another campaign promise, as our defense secretary
travels overseas and delivers a very blunt message. Former White House Press Secretary Dana Perino joins me on why
that was long overdue and what the reaction is in Europe. Plus, President Trump opening a fresh chapter in U.S. Israeli
relations after eight years of some pretty tense times with the gentleman on the left visited the White House. When we
come back, State Attorney and friend of Jared Kushner, Ben Brafman here's to tell us what it means going forward.

(BEGIN VIDEO CLIP)

BENJAMIN NETANYAHU, ISRAELI PRIME MINISTER: Israel stands with you. And I stand. Mr. President, and rolling
back militant Islam, we can see a historic opportunity.

(END VIDEO CLIP)

(COMMERCIAL BREAK)

MACCALLUM: President Trump posting Israeli Prime Minister Benjamin Netanyahu at the White House today. There is a
picture with their wives, basically signaling a strong relationship moving forward. That is in stark contrast to the chilly
scenes that we used to see. There is a handshake. Generally, there was some cold body language that went on between
President Obama and Benjamin Netanyahu in the past, the judge report highlighting the dramatic shift in tone with this
headline. "Bibi Smiles Again At The White House." So for more, let's go to White House Correspondent John Roberts, hi,
John.

JOHN ROBERTS, CHIEF WHITE HOUSE CORRESPONDENT: Martha, good evening to you. Really interesting to watch
the body language between the two, it like old friends coming together as opposed to the adversarial relationship that there
appeared to be during the Obama administration with Israel, but the big headline out today was that President Trump
appeared to drop decades of U.S. policy dropping the insistence of a two state solution to find a peace deal in the Middle
East. The president did say that he was going to do everything possibly could to try to bring the two sides together. The
White House position is that the president doesn't think he should impose the conditions for a peace deal upon Israel and
the Palestinians. They really need to find the path to peace themselves. He did say though, that he would try to the best
of his ability to facilitate some sort of peace. Listen here.

(BEGIN VIDEO CLIP)

TRUMP: I am looking at the two state and one state and I like the one, that that both parties like. I'm very happy with the
one that both parties like. I can live with either one. I thought for a while the two state look like it may be the easier of the
two. But honestly, if Bibi and if the Palestinians, if Israel and the Palestinians are happy, I am happy with the one they like
the best.

(END VIDEO CLIP)

ROBERTS: You can tell the relationship between the two men that is going to be far different than the past eight years
have been. In fact, Prime Minister Benjamin Netanyahu told the Israeli press after his meetings, "I have met many



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presidents. I can say that we never had a better friend for Israel than Trump." But there was an extraordinary moment
when the president lay down a marker to his old friend. Watch here.

(BEGIN VIDEO CLIP)

TRUMP: As far as settlements, I would like to see you hold back on settlements for a little bit. We'll work something out.

NETANYAHU: Doesn't sound too optimistic.

TRUMP: Good negotiator.

NETANYAHU: That is the art of the deal.

(END VIDEO CLIP)

ROBERTS: And just a quick headline here Martha, to wrap up our producers here, Gomez confirming just a minute ago,
four candidates to potentially replace Andrew Puzder as a nominee for Labor Secretary, Catherine Templeton, Joseph
Guzman, Peter Courson, and Alexander Acosta. The two Hispanics and a woman on that list, notable, but so far there are
no Hispanics in this president's cabinet, which he got some criticism for a couple of weeks ago. So we will see where this
goes, but those are the four names as we understand it now, Martha.

MACCALLUM: John, thank you so much. Here now with more, Ben Brafman, a prominent trial attorney and Israel
advocate. Good to have you here tonight, Ben.

BEN BRAFMAN, ISRAEL ADVOCATE TRIAL ATTORNEY: Thank you.

MACCALLUM: What did you think of those exchanges at the White House today?

BRAFMAN: I think for those of us who support Israel and her advocates on behalf of Israel, it is like a breath of fresh air
after eight years of a frosty relationship. This was encouraging. I think both President Trump and Prime Minister
Netanyahu acquitted themselves very well today.

MACCALLUM: What did you think of the sort of dropping of the two state solution idea, Israeli State and the Palestinian
State and perhaps opening the door to a one state solution? What would that look like?

BRAFMAN: I think what President Trump said is that he would allow the parties to agree how this should be resolved,
rather than impose the United States will of the parties, which is what President Obama tried to do unsuccessfully for many
years. Whether it is a one or two state solution or two state solutions the impediment to peace has always been the fact of
the Palestinians refused to accept Israel's right to exist as a Jewish state. For decades, the violence and terrorist acts by
the Palestinians have created a hostile environment that has made it impossible for Israel to offer peace.

MACCALLUM: We saw in the room, Jared Kushner, the son­in­law to President Trump, married to Ivanka trunk, and the
front row. He has been pointed out as someone that President Trump, he said himself, he said, you know, my son in law
will solve the Middle East peace problems. Is he qualified to do that?

BRAFMAN: I think he is very qualified. I know Jared well. He is a brilliant young man, he is soft­spoken but brilliant.
 Sometimes that is two very good qualities when you want to make peace, to be soft­spoken but smart. He also has strong
ties to Israel. He understands the conditions on the ground. I think he is going to be very creative, because he is a very
creative young man. I don't think age has anything to do with this issue. Older people have tried for the past 50 years to
resolve this and have failed miserably. I think Youngblood who have respected the issues on the ground, is a good ­ it is
like breath of fresh air.

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MACCALLUM: Yes. It is a great point. Thank you, Ben, good to see you tonight.

BRAFMAN: Good to see you, thank you.

MACCALLUM: So tonight, the defense secretary delivered a very stern message to our allies about their NATO
commitments when he was in Brussels. General Mattis tells NATO they did to pay their fair share or be prepared to see us
take a step back. How does that work? Dana Perino on what it all means when we come back.

(COMMERCIAL BREAK)

(BEGIN VIDEO CLIP)

TRUMP: I think NATO is obsolete. Dado was done at a time you had the Soviet Union, I'm not saying Russia is not a
threat, but we have other threats. We have the threat of terrorism. And NATO doesn't discuss terrorism. NATO is not
meant for terrorism. NATO doesn't have the right countries and it's for terrorism."

(END VIDEO CLIP)

MACCALLUM: That was candidate Donald Trump speaking out, a stark position with regard to NATO. Now less than one
year later, his Defense Secretary General James Mattis face to face in Brussels with the European allies, the forceful
ultimatum on military obligations of all those countries.

(BEGIN VIDEO CLIP)

JAMES MATTIS, DEFENSE SECRETARY GENERAL: It is a fair demand that all who benefit from the best defense in the
world carry their proportionate share of the necessary cost to defend freedom.

(END VIDEO CLIP)

MACCALLUM: The warning surprisingly well received by NATO secretary­ general. Who acknowledged unfair spending
burden. Watch this.

(BEGIN VIDEO CLIP)

JENS STOLTENBERG, SECRETARY GENERAL OF NATO: Conveying a very firm message to us. That message is
about the importance of fairer burden sharing. It reflects a political reality in the United States. And I think that will be
appreciated by the ministers.

(END VIDEO CLIP)

MACCALLUM: Big crowd of the news conference. I am joined here by Dana Perino, co­host of The Five former White
House Press Secretary under George W. Bush, Dana good to see you tonight. Thanks for being here.

DANA PERINO, FORMER WHITE HOUSE PRESS SECRETARY: Thank for having me.

MACCALLUM: It just really strikes me, would you look at both of those, when he said NATO was obsolete, the hair was on
fire. Now, General Mattis goes there with that strong message, and the Germans also side, it makes sense, we did say we
were going to pay this amount, we should.

PERINO: Also, one of the exceptions that people took to the comment that President Trump as a candidate, they hadn't
thought terrorism. All of the NATO countries did send troops to fight terrorism especially in Afghanistan, who fought
bravely. However, three things happen. Our politics changed here in America. The politics of those countries are

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changing quite dramatically and elections are happening. And a threat has increased. In all of those countries, the threat
of Radical Islamic Terrorism has increased and so as the Russian threat. The other thing is I think the militaries of all of
those countries very much would have liked more resources. Now, because of these political changes in the fact that you
have a president here in the United States who is saying, I am serious this time. They were like, ok, fine, we will meet our
obligations. I think it was a win­win for everybody.

MACCALLUM: They may be relieved that I have somebody giving them the backing they need to bulk up their military,
especially when they see Russia barking at their door.

PERINO: Absolutely.

MACCALLUM: Also, ICE is creating problems. It is interesting. There is this battle over hardware and software, cyber,
drones, things that are needed more necessarily for the fight against Islamic terrorism. And when you have Putin adding
tanks, adding planes, they got to do that, too right.

PERINO: Not only that, the cyber security threat from Russia, as we know very well. Yes there are multiple threats all
across the board. And I think NATO is very much not obsolete. I think Donald Trump maybe had said that in a way that
pushed them. I think the real star of the day in terms of this story is General Mattis. He is forceful. He also understands
because he was a general working with these other countries in Afghanistan, Iraq. He knows them very well. He knows
what is needed. And he knows to ask them for things that they can do, part of the problem, especially in Germany, these
rules of engagement for German soldiers were so different from everybody else. You can't ask them to change that.
 Could you ask them for more money? Absolutely, so we got what we wanted.

MACCALLUM: All right before I let you go, I got 20 seconds, big communication message for the Trump folks at the White
House, having been there yourself.

PERINO: Today?

MACCALLUM: Yes.

PERINO: It is ok to say "I don't know," because if your timeline is in fact somebody else's timeline, you have to go over it
and over. Just tap the brakes and wait a minute. That I make it under time?

MACCALLUM: Absolutely. Thanks, Dana. Good to see you as always. So straight ahead here tonight, President Trump's
pick for labor secretary, surprisingly dropping out just hours ago. Ed Henry here with breaking news on that, when we
come back.

(COMMERCIAL BREAK)

MACCALLUM: Breaking tonight, Andrew Puzder, President Trump's pick for labor secretary is no more. He has officially
withdrawn his nomination after a lot of buzz this afternoon. Breaking news on possible replacements, here is Chief
national Correspondent Ed Henry, Hi Ed.

HENRY: Martha, good to see you, not a surprising, when you remember Senate Democrat leader Chuck Schumer had put
together a hit list of about half a dozen cabinet nominees he wanted to pick off. This is only the first. And it was not
because the Democrats that Andy Puzder stepped aside. It is Republicans of course, who have the majority and could
have pushed him through. Sources tell us tonight, Senator Mitch McConnell told the White House they had a numbers
problem, about a dozen Republicans expressing heartburn over the CEO of Carl's Jr. at Hardee's. There were reports that
he hired an illegal immigrant and that he paid some employees in ACT, then Democrats piled on with allegations that he
physically abused his ex­wife.


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  CBS/AP February 14, 2017, 10:55 PM




  "DREAMer" protected under
  Obama detained in Seattle
  area




  Protesters outside facility in Tacoma, Washington where Daniel Ramirez Medina was behing held on February 14, 2017 KIRO­TV
   58 Comment Share Tweet Stumble Email

  Last Updated Feb 15, 2017 4:34 AM EST

  SEATTLE ­­ A man who was brought to the U.S. illegally as a child but was protected from
  deportation by the Obama administration has been taken into custody in the Seattle area in
  what could be the first case of its kind in the country.

  Daniel Ramirez Medina, 23, was detained Friday by U.S. Immigration and Customs
  Enforcement agents who went to the suburban Seattle home, in Tacoma, to arrest the man’s
  father. ICE spokeswoman Rose Richeson said in a statement that agents were there targeting a
  “prior­deported felon.”

  Medina is suing the federal government over his arrest and detention.

  Ramirez was brought to the U.S. from Mexico when he was 7 and has a work permit
  under Obama’s Deferred Action for Childhood Arrivals program. He also has a job, a young son
  and no criminal record, Northwest Immigrants Rights Project Legal Director Matt Adams said.
  Ramirez is being held in Tacoma.


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  Immigration officials said they took Daniel Ramirez Medina into custody “based on his admitted
  gang affiliation and risk to public safety,” CBS affiliate KIRO reports.




  “Mr. Ramirez ­­ a self­admitted gang member ­­ was encountered at a residence in Des Moines,
  Washington, during an operation targeting a prior­deported felon,” U.S. Immigration and
  Customs Enforcement spokeswoman Rose Richeson said in a statement.

  An ICE official told CBS News that there is corroborating evidence to support Ramirez is in a
  gang.

  Richeson said Ramirez told agents he was a gang member and based on those statements and
  being a “risk to public safety,” he was taken into custody.

                                                                                    But Mark Rosenbaum, one of Ramirez’s
                                                                                    lawyers, responded later Tuesday that
                                                                                    Ramirez “unequivocally denies being in a
                                                                                    gang” and that the statement from
                                                                                    Richeson is inaccurate.

                                                                                    “While in custody, he was repeatedly
                                                                                    pressured by U.S. Immigration and
                                                                                    Customs Enforcement agents to falsely
                                                                                    admit afiliation,” Rosenbaum said.

                                                                                    Ramirez’s only court record in Washington
  Play VIDEO                                                                        is a speeding ticket from 2016 in which a
  President Trump defends arrests of                                                State Patrol trooper said Ramirez went 5
  immigrants                                                                        miles over the speed limit in Thurston

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  County, KIRO reports. He paid the $150 fine and the case was deferred, according to court
  records.

  Adams said Ramirez is the first person he knows of with DACA status who has been detained.

  “This appears to be a complete one­off. We certainly haven’t seen this with our other hundreds
  of clients who have DACA status as well.”

  An ICE official told CBS News that while it is not common, DACA recipients have previously
  been arrested during enforcement operations in the past. Those detained, by their criminal
  convictions or affiliation, fall into ICE enforcement priorities including threats to national
  security or public safety, the official said.

  Attorneys for Ramirez challenged his detention in federal court in Seattle Monday, arguing the
  arrest violates his constitutional rights to live and work in this country without the fear of arrest
  and deportation so long as he satisfies DACA requirements.

  “Trust in our government depends upon the Executive Branch keeping its word,” Ramirez
  attorney Mark Rosenbaum, director of Public Counsel’s Opportunity Under Law Project, said in
  a statement. “Bait and switch sullies the integrity of our nation’s core values.”

  Emily Langley, a spokeswoman for the US attorney’s office in Seattle, said Tuesday afternoon it
  would be premature to comment on the lawsuit. A hearing in the case has been scheduled for
  Friday in federal court in Seattle.

  Recent sweeps by U.S. immigration agents across multiple states have netted some immigrants
  with no criminal records, a departure from enforcement actions in the last decade. Under the
  Obama administration, agents focused more narrowly on individuals who posed a security or
  public safety threat.

  President Trump made illegal immigration a cornerstone of his campaign, saying he will build a
  wall along the Mexican border and deport millions of people, although actual plans have yet to
  be revealed. He has said he wants to focus on people who have committed crimes.

  During an interview with Time magazine late last year, Mr. Trump expressed sympathy for the
  more than 740,000 people in the DACA program, which started in 2012.

  “We’re going to work something out that’s going to make people happy and proud,” he told the
  magazine.

  Mr. Trump can withdraw the promised protection right away through an “operational memo”
  because Obama implemented it through one, William Stock, president of the American
  Immigration Lawyers Association, said previously.

  Adams said he believes Ramirez was apprehended by mistake.
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  “I don’t think this has to do with any change in policy; I just think it was an enforcement
  procedure gone wrong,” Adams said. “Hopeful they’re going to come to their senses.”
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  The Associated Press contributed to this report.




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